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                                   TECH BY VICE




                                   The Prototype iPhones That
                                   Hackers Use to Research Apple's
                                   Most Sensitive Code
                                   Very few people have heard of them, but "dev-fused" iPhones sold
                                   on t he grey market are one of the most important tools for the best
                                   iOS hackers in the world.


                                   By Loren zo Franceschi-Bicchierai

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                                   IMAGE: CATHRYN VI RGI NI A



                                   Mathew Solnik stood next to two of the best iPhone hackers in the world



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                        Mathew SolnikDocument
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                                                                           hackers in 04/20/2020
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                              and addressed the question the hundreds of people watching him were all
                              wondering.


                              "The white elephant in the room: How exactly did we get it?" Solnik, a well-
                              known security researcher, said as he wrapped up one of the most
                              anticipated talks at the Black Hat security confere nce in Las Vegas in early
                              August 2016. In attendance, among hundreds of security professio nals and
                              hackers, were researchers from a company that sells iPhone-cracking
                              services to cops around the world, and Apple's own employees.

                                                                 AOVE:~TISEMENT




                              The thing that his team had been able to analyze for the first time was the
                              iPhone's Secure Enclave Processor (SEP), which handles data encryption for
                              the iPhone. How they were able to do this was a valid question g iven Apple's
                              notorious secrecy, and the fact that the SEP is o ne of the most important
                              and most closely guarded components of the iPhone, the most secure
                              smartphone on the market.


                              "Well, you get to ask us next time we talk;' Solnik added. (Solnik said the
                              same when I approached him after the talk.)


                              There was no next time: The team has never publicly discussed its methods.


                              Now, more than two years later, Motherboard has learned how the team did
                              it. During our investigation, we also discovered how other iPhone hackers
                              research the most secure components and processes of the device.


                              I "It's kind of the golden egg to a jailbreaker."
                              Solnik's team used a "dev-fused" iPhone, which was created for internal use



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                        Solnik's team used        342-4 iPhone,
                                           a "dev-fused"  Entered on was
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                                                                                     internal use Page 4 of 21
                              at Apple, to extract a nd study the sensitive SEP soft ware, according to four
                              sources with specific knowledge of how the resea rch was done. Dev-fused
                              devices a re sometimes called prototypes in the security research industry.
                              They are essentially phones t hat have not finished the product ion process,
                              or have been reverted to a development state.


                              In other words, they are pre-jailbroken devices.


                              These rare iPhones have many security features disabled, allowing
                              researchers to probe them much more easily than the iPhones you can buy
                              at a store. Since the Black Hat talk, dev-fused iPhones have become a tool
                              that security researchers around the world use to find previously unknown
                              iPhone vulnerabilities (known as zero day_s), Motherboard has learned.




                              Listen to CYBER on A1212le Podcasts, Google Podcasts, Stitcher, S.12otify.,
                              Overcast, Poclzet Casts, or on the RSS f-eed.


                              Dev-fused iPhones that were never intended to escape Apple's production
                              pipeline have made t heir way to the gray market, where smugglers and
                              middlemen sell them for thousands of dollars to hackers and security
                              researchers. Using the informatio n gleaned from probing a dev- fused
                              device, researchers can somet imes parlay what they've learned into
                              developing a hack for the normal iPhones hundreds of millions of people
                              own.

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                              During Motherboard's months- long investigation , I spoke to two dozen
                              sources- security researchers , current and former Apple employees, rare
                              phone collectors, and members of the iPhone jail breaking scene- about the
                              underground trade of dev-fused iPhones and their use in the iPhone hacking
                              community. I used one of these devices and obtained "root" access on it,
                              g iving me almost total control over the phone ; gaining root access allows
                              researchers to probe many of the phone's most important processes a nd
                              components . And I learned that these devices are used by some of the
                              highest-profile companies and independent experts that research and hack
                              iOS to find valuable bugs that may later be exploited by governments and
                              law enforcement agencies.


                              A elev-fused iPhone, connected to a Mac with a special cable, boots u p. (Image:
                              Motherboard)


                              At BlackHat, Solnik and his two former colleagues David Wang and Ta tjei
                              Mandt-also known as Planetbeing and Ke rnelP-ool in the iPhone jailbreaking
                              community-blew the doors off the SEP with the impressive and technical
                              talk, which delved into, for example, how the phone's application processor
                              and SEP communicate using a "secure mailbox;' the SEP's "bootflow;' and
                              the specific "opcodes" that Apple uses to read information from the
                              processor.


                              For iPhone hackers, the presentation was a godsend. At t he time, Patrick
                              Gray, who hosts an influential infosec podcast, described it as a "how2pwn
                              guide" for the SEP, and thus, the iPhone.

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                              One reason the iPhone is so hard to hack is that Apple makes it almost
                              impossible to study how the SEP and other key components work. That's
                              because the SEP operating system is encrypted, and- in theory- cannot be
                              extracted or reverse engineered from a regula r iPhone. But from a dev-
                              fused device it's possible, and has been repeated since Solnik's talk by other
                              researchers.


                              "Wish I could say that they succeeded in pwning the system, but like many
                              in the field (Solnik's team] leveraged specific prototypes;' an iPhone
                              jailbreaker who asked to be identified as Panaetius told Motherboard.
                              Panaetius did not want to be identified given that he has also used dev-
                              fused devices and is worried Apple may go after him.


                              A person who formerly worked in Apple's security team told Motherboard
                              that he approached Wang aft er the talk at the conference. When he asked
                              Wang how they managed to study the SEP, Wang told him that "Solnik got a
                              dev-phone and dumped the firmware through standard Apple tools:'


                              An independe nt iOS security researcher, who spoke on conditio n of
                              anonymity in order not to damage his reputation w ithin the jailbreaking
                              community, said "Solnik was full of dev-fused (iPhones];' at the time of the
                              SEP talk.


                                 Got a tip? You can contact this reporter securely on Signal at +1 917 257
                                 1382, OTR chat at lorenzojb@jabber.ccc.de, or email
                                 lorenzo@motherboard.tv


                              Another iOS security researcher, who also asked not to be identified, said he
                              saw Solnik's dev-fused devices and the proprietary cables used to work on
                              them in the lead up to the SEP talk at Black Hat.

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                              Solnik, Wang, and Mandt, did not respond to mult iple requests for
                              comment. (At the time of the talk, Wang and Mandt were working for
                              Azimuth, an Australian company that provides toP--end hacking tools to
                              governments such as the USA, Canada and the UK. Solnik had just left
                              Azimuth.) Solnik was the subject of an eP-isode of Phreaked Out ,
                              Motherboard's 2014 documenta ry series about hacking.


                              At the time, they may have been the first ones to get to the SEP, but thanks
                              to the proliferatio n of dev-fused iPhones, others have repeated their feat .
                              Lisa Braun, a pseudo nymous independent iOS researcher, recently. claimed
                              to have dumped the SEP from an iPad Air 2 prototype.


                              And he is not the only one.




                              A FEW DEV-FUSED ! PHONES , COLLECTED SY GIULIO ZOMPETTI. ( IMAGE: GIULIO ZOMPETTI )




                              According to five sources in the iPhone hacking world, Cellebrite, a forensic
                              firm that sells devices that can unlock iPhones, has purchased and used dev-
                              fused devices to develop its products . Cellebrite did not respond to a
                              request for com ment .




Capture timestamp (UTC): Mon, 20 Apr 2020 19:19:02 GMT
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                              request for com ment .
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                              Chris Wade, the cofounder of Corellium, a startup that sells a P-roduct that
                              allows users to create virtual instances of almost any. iOS device in the
                              world, has also gotten his hands on these devices, according to three
                              sources in the iPhone hacking world and three sellers.


                              Wade, who is known as cmw in the jail breaking community, told
                              Motherboard he has never purchased a dev-fused device. He admitted
                              having "played" w ith them at a confere nce, but de nied using them in the
                              development of Corelli um. (In a 2016 tweet, however, Wade joked about
                              owning "iPhone prototypes.")

                                                                 AOVE:iHISEMENT




                              "I want to be 100 percent clear we didn't/ don't use dev phones @ Corellium.
                              We don't buy stolen Apple stuff!" Wade told Motherboard in an online chat.
                              "I spent years working on Corellium and we never needed them. Using
                              stolen dev phones is 100 percent the best way to get Apple to sue you or just
                              fuck your life up."


                              Before Solnik's Black Hat talk, Apple had yet to provide decrypted kernels to
                              the public. Analyzing the kernel is a key step to hacking the iPhone and to
                              understanding how iOS really works under the hood. And these dev- fused
                              iPhones, available on the gray market for four or five figures , are the perfect
                              tool to do that.


                              "If you are an attacker, either you go blind or wit h a few thousand dollars
                              you have all you need;' Luca Todesco, one of the most well-known iOS
                              security researchers in the world , told Motherboard, referring to people
                              who buy dev-fused iPhones. "Some people made the second choice:·


                              Other researchers in the community told Motherboard that dev-fused



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                        Other researchers
           Case 9:19-cv-81160-RS          in the community
                                     Document              told Motherboard
                                                  342-4 Entered             that dev-fused
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                              devices a re widely used in the iPhone hacking scene by researchers looking
                              for zero day vulnerabilities.


                              As Mandt put it in a Tweet in July of 2017, "anyone with a bit of effort and
                              money can get hold of a switchboard device." ("Switchboard devices" are
                              another term for some dev-fused phones, which refers to the proprietary
                              operating system they run.)


                              While the devices are indeed rare, if you go looking for them, they're not
                              hard to find .

                                                                 AOVE:iH I SEMENT




                              THE VENDORS


                              "I'm here;' he texted me as I nervously looked around in the crowd of people
                              criss- crossing a busy street in downtown Manhattan.


                              I looked up and saw a slender man wit h long da rk hair, a colorful hat ; and-
                              of course- he was holding an iPhone. I followed him to his workshop nearby.
                              To open the door, he used a fingerprint reader that he said he made and
                              programmed himself. Inside the workshop, there's a handful electric
                              skateboards, two fish tanks, and a sign that reads "If you taka my space I
                              breaka your face:'


                              The man is one of the few people in the world who openly advertises and
                              sells dev- fused iPhones. He has a Twitter account called "Apple Internal
                              Store;' but doesn't share his real name because he is concerned Apple may
                              go after him. He openly advertises dev-fused and other prototype iPhones
                              for sale: One type of dev-fused iPhone X costs $1,800, for example. After
                              reaching out on Twitter, he agreed to meet with me.




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                             reaching out on Twitter, he agreed to meet ,<Vith me.
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                             The seller said he's sold to several security researchers , and believes that
                             many big security fi rms that hack iPhones have them.


                             "Those people they don't care about money. They don't care about the
                             price." he said. "Whatever it is, the company buys it:'


                             He's defensive when I ask how he got the phones.


                             "Well, I didn't steal any device. I actually paid for them;' he said as he showed
                             off a bunch of dev-fused devices. "As long as you don't break [Apple's] balls,
                             or show an iPhone 11 prototype, or an unreleased device, they're most likely
                             cool with that :'

                                                                AOVE:iHISEMENT




                             On the back of dev-fused iPhones seen by Motherboard, there's a QR-code
                             sticker, a separate barcode, and a decal that says "FOXCONN;' referring to
                             the factory that makes iPhones and other Apple products. Otherwise, the
                             phones look like normal iPhones. That sta nda rd iPhone experience ends
                             when the phone is t urned on. \A/hen booted up, you briefly see a command
                             line terminal. And then when it loads, gone are the sleek icons and colorful
                             backgrounds of iOS. The phone boots into an operating system known as
                             "Switchboard;' which has a no-nonsense black background and is intended
                             for testing different functionalities on the phone. The home screen is
                             populated with icons for apps with names like MMI, Reliability, Sequencer,
                             and Console, an app that allows yo u to open a command line terminal inside
                             the iPhone.




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                              A DEV- FUSED I.PHONE MOUNTED ON A RIG. ( IMAGE: MOTHERSOARO)




                              Clicking thro ugh these apps is at times frustrating as they're made to be
                              used via the command line terminal while connected to a computer. Most of
                              them cannot be closed by tapping or swiping, meaning the phone needs to
                              be turned off and back on to get back to the home screen. Switchboard's
                              apps suggest a playfulness that Apple doesn't a lways let through on iOS. The
                              icon for "Reliability" features a doge (from the meme) playing a musical
                              keyboard. The app itself allows you to test the functionality of the phone's
                              cameras, speakers, microphone, battery, and ambient light sensors, among
                              other functionalities. An app called "Ness" features the lead character from
                              Nintendo's game Earthbound. Though the iPhone wiki SP-eculates it could be
                              used to test the phone's temperature; when I try to launch it, the phone
                              turns off. An app called "Sightglass" used to have the logo for a San
                              Francisco coffee roaster by the same name; it has been changed to a matrix
                              of colored dots .


                              You can't do too much with the phone on its own. But once you connect it
                              to a Mac with a proprietary Apple USB cable called "Kanzi;' which can cost
                              a round $2,000 on the gray market, you are able to use other internal Apple
                              software (that is widely shared in the jail breaking community) to get root
                              access on the phone and burrow deep into its soft ware and firmware. The
                              special cable is required because Apple uses a proprietary protocol for
                              accessing certain data within t he iPhone to deb ug the kernel and other
                              hard-to- reach components.




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                              hard-to- reach components.
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                              Two people showed Motherboard how to get root access on the phone we
                              used; it was a trivial process that required using the login: "root" and a
                              default password: "alpine."


                              Not all dev-fused devices look normal, though. Some of the m come
                              mounted on clunky-looking metal rigs that allow yo u to open them up like a
                              pizza box to inspect the phone's guts, look at the battery, motherboard, and
                              other internal parts. One that I saw had ext ernal wires running from the rig
                              to the inside of the device; the rig itself had what looked like RF connector
                              P-orts attached to those wires, as well as ext ernal, metal volume and power
                              buttons.


                              Once I started looking for dev- fused iPhones, t hey weren't that hard to find,
                              provided you're willing to shell out a few thousand bucks and a ren't worried
                              about potentially pissing off Apple. Besides Apple Internal Store, there a re
                              other Tw itter accounts that openly advertise t hem.




                                    JinStore®
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                         iPhone X Prototype #iPhoneX #Appleinternal
                         #AppleConnect #jailbreak #iOS11
                         #jailbreakios11 #Apple #iPhone8


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                              A SCREENSHOT OF AN ADVERTISEMENT ON TWITTER FROM JI N STORE FOR AN I PHONE X PROTOTYPE .




                              The owner of the Twitter account .T in Store, which claims to sell dev- fused
                              or prototype iPhones, shared their catalog w ith Motherboard. A dev-fused
                              iPhone 8 Plus costs $5,000, an iPhone XR $20,000, and an older iPhone 6
                              costs $1,300 (there a re several different types of dev-fused devices that have
                              different levels of security and varying features on them. The price of the
                              dev-fused device depends on the security and features it includes.)


                              In a conversation via WeChat, Jin said that t hey personally know Solnik, but
                              declined to say whether he was a customer.

                                                                                     AOVE:~TISEMENT




                              The person behind a nother dev- fused store that advertises on Twitter, who
                              goes by Mr. White, said he has "almost all" iPhone models. He also claimed
                              to have sold "a lot of' dev-fused iPhones to security researchers.




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                       to have sold "a lot of' dev-fused iPhones to security researchers.
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                              "I don't know how to get SEPROM;' Mr. White told me in an online chat,
                              using another technical term for the SEP. "But I know that their research
                              needs my equipment:'


                              THE DEVICES THAT ESCAPE SHENZHEN


                              Though it's possible to buy dev-fused iPhones from various sources, it's not
                              like there's a huge supply of them. Outside of Apple and the security
                              research industry, these devices are almost a complete unknown. Even
                              finding any substantial online references to t he term dev-fused is difficult.


                              In a Hacker News thread prompted by a Motherboard investigation on the
                              iPhone bug bountY- program, former iPhone jailbreaker and current security
                              researcher Will Strafach wrote that "Apple has dev-fused devices which use
                              separate development cert ificates and keys." An entrY- in the unofficial
                              iPhone wiki also briefly mentions prototype devices. The page is introduced
                              by a big red rectangle that warns readers that "acquiring a copy [of internal
                              Apple softwareJwithout Apple's consent is illegal and may result in being
                              scammed."


                              The day after Solnik, Mandt and Wang's talk, Apple's head of security Ivan
                              Krst ic also SP-oke at Black Hat. A single line of his presentation slides
                              referred to "development fused" iPhones, though he didn't actually mention
                              them during his talk. As far as we know, that's the only time Apple has
                              publicly acknowledged their existence. An Apple spokesperson declined to
                              discuss these devices w ith Motherboard.

                                                                  AOVE:~TISEMENT




                              When reached via Twitter, Krstic said that he could not talk about anything
                              work related, and instead joked I could ask him about his "borderline-



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                                                                           his "borderline-
                              encyclopedic knowledge about preparing steak:'


                              But despite being essentially a secret from the public, security researchers
                              and hackers have known about and used these devices for years.


                              "They are very popular among security researchers;· said a person who's
                              familiar with the supply chain of smuggled iPhones in China, who spoke on
                              condition of anonymity to avoid putting his associates in China at risk. "I've
                              had a number ask me and say they were willing to pay a significant amount
                              of money to get dev phones:·


                                 "They are stolen from the factory and development
                                 campus."

                              Andrew "Bunnie" Huang, a well-known hardware security researcher who
                              wrote the ultimate guide to Shenzhen's elect ronics markets, told
                              Motherboard that he has seen some of these devices in China. Few people
                              know exactly how they get from Foxconn, which manufactures iPhones, to
                              Shenzhen's markets. But they find a way there.


                              "They are stolen from the factory and development campus;· a person who
                              sells these devices on Twitter told Motherboard.


                              At times, Huang said , even the people who sell dev- fused devices in
                              Shenzhen a ren't aware of how valuable they can be to hackers and security
                              researchers.


                              "The gray market guys don't even know what they sit on half the time;'
                              Huang said in an online chat . "They are just t rading trash for cash."

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                              "It gives you a new attack surface that's not as heavily fortified;' Huang
                              added. "They don't put the metaphorical lock on the door until the walls are
                              built on the house, so to speak:'




                              A COUPLE OF DEV- FUSED DEVICES , COLLECTED SY GIULIO ZOMPETTI. ( IMAGE: GIULIO ZOMPETTI )




                              To be more technical, and unlike the iPhones you can buy at the Apple store,
                              called "prod" or "production fused;' these devices allow their owners to boot
                              into Switchboard. This software allows resea rchers to hack and reverse
                              engineer different components of iOS. These would be usually off limits
                              w ithout hard-to-get vulnerabilit ies and a jailbreak, which is worth millions
                              of dollars in today's zero-day market.


                              "Prod fused means there's a specific pin on the board that is 'blown' in the
                              production phase. The board checks that pin to see if the device is prod or
                              not ;' a former Apple employee who wanted to remain anonymous because
                              he is bound by a non-disclosure agreement, told Motherboard. "If it isn't ,
                              and the firmware is dev version, then certain features are enabled:'


                              With a proprietary Apple cable and the right skills, they're the perfect
                              iPhone hacker's playground.


                              In 2017, Motherboard reported that the best iPhone hackers in the world did
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                                                                                   the world did Page 17 of 21
                              not want to re{.lort bugs to AP-pie, even after the company promised six-
                              figure rewards. One of the complaints the researchers had was that it was
                              incredibly hard to find bugs wit hout already knowing about other bugs. In
                              other words, security researchers need iOS bugs- those that allow them to
                              jailbreak the device and disable security features- just to be able to do their
                              research. If independent resea rchers were to report bugs to Apple, in their
                              view, they could lead Apple to fix the flaws they rely on to find other bugs.

                                                                 AOVE:iHI SEMENT




                              At the time, some of the researchers said that it'd be better if Apple gave
                              them "developer devices."


                              As it turns out, some already had them.


                              "It's kind of the golden egg to a jailbreaker;' according to Panaetius, who said
                              he's bought and re-sold several dev-fused devices. "Here's a device where
                              you can slap all t he security mechanisms out of the way. Because there are
                              still security mechanisms on a development fused device, but you can kind
                              of just push them:'


                              iPhone hackers, however, a re not too keen to discuss the fact that they use
                              them. Some told me that using them is like "cheating;' and others swore to
                              me that they have never used them because it'd be perceived in the scene as
                              being lame.


                              "Many folks are very wary of these. Just because many do not want to deal
                              w ith Apple's allegedly vicious legal folks ;' a security researcher who has been
                              in the jailbreak community for years, and asked to be ano nymo us to discuss
                              sensitive issues, told Motherboard.


                              Others aren't nearly as concerned.



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                       Others aren't Document    342-4 Entered on FLSD Docket 04/20/2020 Page 18 of 21
                                     nearly as concerned.


                              THE COLLECTORS


                              Giulio Zompetti, who calls himself a collector of iPhone prototypes, told me
                              he has 14 dev-fused iPhones, as well as some iPods and iPads. He showed me
                              many of them on a video chat .


                              He said that while he plays around with his dev- fused devices, he does n't
                              hack them- he only collects them.


                              "For me it's a bit of an investment. The older they are, the harder it is to find
                              them;' Zompetti said in a phone call. "It's just fun. The search of something
                              that by itself is really hard to get."

                                                                       AOVE:iHISEMENT




                              "The goal is to reco nstruct history;' Zompetti told me as he showed me
                              some of his pieces, including an iPhone SS that he said was dated just a
                              couple of months after the release of the iPhone 5, the previous model.


                              Another collector who showed me pictures of his devices told me t hey have
                              too many devices to count.




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                                     MATHEW SOLNI K POSES DURI NG A DEMO OF A HACKI NG TECHNI QUE FOR MOTHERBOARD ' S 2814 DOCUMENTARY PHREAKED OUT .
                                     ( IMAGE: MOTHERSOA:RO)




                                     Apple is well aware of the fact that dev-fused devices get t raded around,
                                     according to five sources within and outside the company. Several sources
                                     both inside Apple and in the jail breaking community believe that Apple has
                                     ramped up its efforts to keep these devices from escaping Foxconn and to
                                     go after people who sell them. It's no surprise Apple knows that researchers
                                     covet these- some of them have even poked Apple publicly. Back in 2016,
                                     Solnik teased his great breakthrough on Twitter weeks before his Black Hat
                                     talk.


                                     "Vvho wants to see a security team jump?" he tweeted, along with a
                                     screenshot of a terminal window that showed Solnik had been able to obtain
                                     the Secure Enclave Processor firmwa re. "I'll just leave this here."


                                     The precise step-by-step of how Solnik, Wand, and Mandt, were able to
                                     decrypt and reverse engineer the firmwa re has never been discussed
                                     publicly. Their talk, however, was enough to attract Apple's attentio n and
                                     boost the speakers' careers and reputation within the iPhone security
                                     research community.



                                              Mathew Solnik
                                                                                                                                      Following              V
                                              @msolnik


                         Who wants to see a security team jump? I'll
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                              Mandt is st ill at Azimuth, whereas Wang moved to Corellium. Solnik, on the
                              other hand, is himself a bit of a mystery. At the time of the SEP ta lk, he was
                              heading his own startup, called OffCell, which was founded with the goal of
                              becoming a government contractor providing offensive security tools and
                              exploits to governments , according to several sources who know Solnik.


                              In 2017, however, Solnik was hired by Apple to work on its security team,
                              specifically on the so-called red team, which audits and hacks the
                              company's products. His talk at Black Hat had apparently impressed the
                              folks at Cupertino. A few weeks later, however, he abruptly left the company,
                              according to multiple sources.

                                                                 AOVE:iH I SEMENT




                              The full story of Solnik's short stint at Apple is a closely-guarded secret.
                              Motherboard spoke to dozens of people and was unable to confirm the
                              specifics around his leaving the company; one source within Apple told me
                              informat ion about Solnik is "incredibly restricted;' and another confirmed
                              that even within Apple, few know exactly what happened.


                              Apple repeatedly declined to comment or respond to any quest ions
                              regarding Solnik, but did not deny that Solnik worked there.


                              In any case, the underground market for dev-fused iPhones is now
                              flourishing. And, for now, Apple doesn't seem able to stop the flood, despite
                              the fact that these leaks are fueling a growing industry of iPhone hacking
                              companies.


                              "To be honest everyone benefits from Apple's lousy supply chain
                              management;' Viktor Oreshkin, an iOS security researcher, told
                              Motherboard in an online chat. "Except Apple, obviouslY:'



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                                               chat. "Except Apple,
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                              cybersecurity.


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